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   TRIBUNAL
  JUDICIAIRE
   DE PARIS

         ■


 POLE FAMILLE
 AFFAIRES
 FAMILIALES
  J AF section 2 cab 5
                                                            JUGEMENT
                                                       rendu le 21 avril 2023
  N° RG 22/38514-N°
  Porta.lis                                     Article 1179 du Code de procedure civile
  352J-W-B7G-CYBZ3

  N°MINUTE: 1


                DEMANDEUR

                Monsieur Arnaud PARIS
                 13 RUE FERDINAND DUVAL
                75004 PARIS
               · Comparant, assiste par Me Audrey GADOT, Avocat au barreau de Nanterre,
                 #530 et Me Terence RICHOUX, Avocat, #E0780

                 DEFENDERESSE

                 Madame Heidi BROWN
                 665 LEONARD STREET
                 ASHLAND - OREGON - ETATS UNIS
                 Representee par Me Clemence BRAS SENS - BAZALGETIE, Avocat, #G0276


                 LE .JUGE AUX AFFAIRES FAMILIALF.S
                 Karima BRAIDMI                 •


                 LEGREFFIER

                 Charlotte PERROT



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                                                 . EXPOSE DU LJTIGE
               Des relatio~ de Monsieur Arnaud PARIS el ivladame Heidi BROWN sont issus
               deux enfanls dont Ia filiation esl lcgalcmcnt etablic ,i l'egard des deux parents :
                  - .lulielle PARIS nee le 15 janvier 2015 ,i Ashland (Etal-lJnis),
                  .: Eva PARIS nee le 15 janvier 2015 a Ashland (ELat-Unis).
                                                                                        _.,

               Monsieur PARIS a depose une requete devant Ie Juge aux Affaires Fami Iiales du
               Tribunal .ludiciaire de Paris, enregistree au Greffe des affaires familiales le 06
               octobre 2022.
               Par ordonnance du 07 octobre 2022, Monsieur PARIS a ete autorise               aassigner
                                         a
               Madame BROWN l'audience du 20 janvier 2023.

               Par acte d'huissier du 10 o·ctobi-e 2022, Monsieur PARIS a assigne Madame
               BROWN a !'audience du 20 janvier 2023.

               A-1 'audience du 20 janvier 2023, Monsieur PARIS etait present et assistc par son
               conscil; l\1ladame BROWN ctait abscnte mais representee par son conseil.·Le
               conseil de iV1adame BROWN a sollicitc le renvoi de l'affaire. le conseil de
               Monsieur PARIS ne s'est pas oppose a cette demande. Compte tenu de !'accord
               des parties, l'affaire a ete renvoyee ir l'audience du 31 mars 2023.
               A !'audience du 31 mars 2023, Monsieur PARIS etait present ct assisLc par son
               conseil ; Madame BROWN etait absente mais reprcsentee par son conseil. La
               nouvelle demande de rcnvoi fo11nulee par le conscil de Madame BROWN a <Ste
               rejetee coi'nme nonjustifi6c. •

              Dans ses conclusions ecrites soutenues a 1'oral, auxquelles i1 convient de
              renvoyer, Monsieur PARIS sollicite:
                  - l'exercice conjoint de l'autoritc parentale,
                  - de fixer la residence des en fan ts a son domicile aParis,
                  - d'.octroyer a -la mere des droits de visite et d'hcbcrgemc1H pendant !es
                       vacances scolaires, a charge pour elle de supporter !cs fn:iis de lrajets des
                       enfants,                                                         ,
                 - de fixer le montant de la contribution de la mere a1'entretien et a!'education
                       des enfants ala somme de 1000 euros par mois,
                 - de dire que Jes frais exceptionnels de sante non rembourses et Jes frais
                       extrascolaires decides en commun seront pris en charge par moitie par les
                       parents,                            .
                 - de condamner ivladame BROWN aux clepens ct ii lui payer la somme de
                       3600 curos en application de l'mticlc 700 Ju code de pro-ccdure civile
                 - de condamner Madame BROWN· aux dcpeils conformcment aux
                       dispositions en application de l'aniclc 699 du code de procedure civile ..

              Dans ses conclusions ecrites soutenues a !'oral, auxquelles ii convient de
              renvoycr, Madame BROWN demande ;
              * In limine rnitis :
                  - de sc declarer incompetent pour corµ1a'.itre du present litige au profit du
                      t~·ibunal de circuit de 1'6tat de ]'Oregon,
                  - A titre subsidiairc, de considerer qu'il existe une situmion de litispcndance
                      c_t de sc dessaisir au profit du tribunal de circuit de l'ctat de !'Oregon,
                  - A t1tn.! cxtremcmcnt subsidiaire de rcnvovcr l'alfairc.
                  - de condamncr Monsieur PARIS a lui payer la somine de 3000 euros en
                      application de !'article 700 du code de procedw-e civ:ile.

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          * Au fond:
              - de fixer la residence des enfants au domicile matemel aux Etats-Unis,
             - a defaut de maintenir la residence altemee des erifants aux domiciles
          parentaux aux Etats-Unis,
              - d'ordonner le partage des frais des enfants.
          Conformcment aux dispositions de l' article 1072-1 du Code· de procedure civile,
          verification a ete faite 'de. l'existence ou non d'une procedure d'assistance
          educative ouverte a l'egard des enfants mineurs.
          Aucune demande d'audition des mineurs n'a ete faite conformement a !'article
          388-1 du Code civil.                                      •
          La decision a ete mise en delibere au 21 avril 2023.

                                    MOTIFS DE LA DECISION

          Sur la competence du juge fran,;ais et la loi applicable

          Les elements d~extraneite du dossier necessitent des 'jnterroger sur la competence
          internationale dujuge franyais et sur la loi applicable.
           Sur la competence
           I 0 i Sur la respnnsahilite parentale :

           En applicaiion de I 'article 7 du Reglemenr (UE) 20/9/1111 du Conseil du 25 juin
           2019, dil "Bnc,elles II ter" Les juridictions d 'un Etat membre sont competentes
           en matiere qe responsa,hilite parentale a l'egard d'un enfant qui reside
           habituellement dans cet Etat memhre au moment ou lajuridiction est saisi~

           Tout d'abord, ii convient de rappeler que le reglemen1 Bruxelles II ter ne contierit
           aucune disposition concernant son champ d'application dans l'espace. Les reg/es
           de competence detenninees par le Reglement (UE) 201911111 du Conseil d!f 25
           juin 20 J9 s'applique aitx rapports entre juridictions relevant de phtfieurs Etats
           membres, mais egalem91t aw:: rapports entre une juridiction d'un Etat memb1·e
           et une juridiction d'tm Etat tiers.

           Ensuite, ii est necessaire de determfner ou se situe la residence des enfants qfin
           de determiner si le juge fraru;ais est competent.

           La resMence habituelle de l'e1?fant correspond au lieu ou se situe le centre de la
           vie de l'e11fanr, lequel doit etre derermine au moment de l'introduction de la
           demcmde de responsabilite parentale sur la base d'unfaisceau d'indices.
           Ainsi, la determinarion du lieu de la residence habituelle d'un e1!fu111 doit sefaire
           defar;on tout afait concrete au regard des circonstances precises de l'espece:
           condiNons et misons du sejour de !'en/ant, duree du s~;our, age de l'enfgnr,
           scolarisation, commune intention des parenrs_de ti-ansferer cette residence ainsi
           que les decisions prises en vue de ['integration de l'enfant etc...

           JI convient done de rechercher 01'.t se situe /'integration de l'enfant dans un
           environnement Jocial et familial devant permettre de determiner une proximite
           suffisanle et non temporaire entre l'enfimt et son milieu de vie.

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               En l'especc, au regard des pieces du dossier et des debats, il apparait que depuis
               la naissancc des deux filles, le couple et !es enfants ont reside alternativement en
               France ct aux Etats-Unis; quc depuis la rcntree scolaire 2019, le eouple et !es
               cnfrmts se sont installcs en France ct lcs deux Lilies 0111 cte scolarisees en France,
               que courant avril 2022 des dirticultcs rclationnellcs sonl apparues Jans le couple
               et quc lcs dcux parents nc sc sont plus accordes sur le lieu de residence de la
               famillc. Monsieur PARIS souhaitant rester en France ct :tvladame BROWN
               souhaitnnl llll retour aux Eta!s-Unis; que ncanmoins lcs parents se sont accordes
               le 19 juillet2022 pour un depart de la famille aux Etats-Unis pour l'annee scolaire
               2022-2023; !cs dcux filles du couple etant arrivecs sur le tcrritoire americain le
               29 juillct 2022.
               Ainsi, lors de la saisine de lajuridiction franc;aise., soit le 06 m.:tobre 2022, Juliette
               et Eva residaient sur le territoirc americain depuis seulement 2 mois; auparavant,
               elks rcsidaient et etaient scolarisees en France pendant 3 ans pays dans lcquel elle
               ctaient socialement integrecs : si !es parents se sont accordes pour un retour aux
               Etals-Unis, cet accord concernait uniquement l'annee scolaire 2022/2023 ainsi,
               ii nc peut sc deduire unc commune int~ntion des parents de tnmsferer la residence
               des enfants de maniere perenne aux Etats-Unis.
               Par consequent, compte tenu de ces elements, il apparatt qu'aujour de la saisine
               de la juridiction fram;aise suit le 06 octobre 2022, Juliette et Eva avaient leur
               residence habituelle en France.
               Par 1.:onsequent la juge franc;ais est competent pour statuer sur les demandes
               relatives aIa responsabilitc parentalc.

               2°) Sur !es oh/if!(t/io11s alime11laires:

               L '(lrticle 3 b) du regle111e11t (CE) 11°4/2009 du 18 decembre 2008 relat(f"i1 la
               competence, la loi applicable. la reconnaissance et/ 'execution des decisions et
               la cooperation en matiere d"obligarions alimentaires dispose que fOnt
               competentes pour statuer en 111,lliere d 'obligai_ions alimentaires dans les Etats
               111embres lajuridictiun c/11 lieu mi le cnJancier a sa residence habitue/le.

               En I' especc, le creancier de l' obligation alimentaire ayant sa residence habituelle
               en France, le juge franyais est competent pour statuer sur la dernande d 'obligation
               alimentairc.                              ••

               Sur la loi applicable
               J 0 j Sur la responsabilire parenta!e:

              A 11.r ICJ'mes de /'article 15 de la conve11lion de La Haye du 19 oc/obre 1996
              relatiwJ i, la co111petence, la !oi applicable, la reconnaissance ell 'execurian des
              decisio11s en moriere de prorection des e1?ft111ts, lejuge L'omprhenl pol/I' s1a111er sur
              la responsabilire 1)(/renta/e applique J'.a /oi.

              En I' espece, la competence du j ugc fra11yais enmatiere de responsabilite parentale
              conduit aappliquer la Joi franc;aise.



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           2°) Surles obligations alimentaires :

          Am: termes de ·f'al'ticle •15 du reglement (CE) du Conseil n° 4.12009 du/R
           decembre 2008, la loi apJjficable -en 111atiel'es d'obligations alimentaires est
           detepninee con.formement au Protocole de La Haye du 23 novembre 2007 pour
           les Etals memh1·ei; lies par cet instrume11/.                                 •

           Aux termes de I 'article 3 du Protocole de la Efaye du 23 novembre 200i, .mu/
           disposition con/mire du Protocole, la loi de l 'Etat de la residence habituel/e du
           creancier_ regit !es oblfgations a!i111e11taires ; <;11 cas de changemenl de la
           residence habituelle du cnfoncier, la loi de l'Etat de la nouvelle residence
           habituelle s'applique apartir du moment ou le changement est survenu.

           En l' espece, le creancier. residant en France, il convient de faire application 4e la
           loi franc;aise.

           Sur l'exception de litispendancc

           Aux termes de /'article J00 du code de procedure civile, si zm meme litige est
           pendant devant deuxjuridictions de meme degre egaleme11t competentes pour en
           connaitre, la juridiction saisie en second lieu doit se cfessaisir au profit de l 'autre
           si l 'zme des parties le demande.

           Madame BRO\VN soulcve I'irrecevabilite de la requete dcposee par Monsieur
           PARTS fondcc sur une exception de litispendance. Elle soul eve la litispendancc
           sur ks questions de responsabilite parentale entre !'instance initiee devant le
           tribunal j1.1diciaire de Paris par Monsieur PARIS· et celle initiee par Madame
           BROWN aux Etats -Unis.
            Ace titre, elle affirme que lajuridiction fran9aise a ete saisie en second et doit se
           .dessaisir du litigc au profit dujuge americain. •
           En l'es_pece, i1 ressort des pieces du dossier que Monsieur PARJS a saisi le juge
           aux affaites familiales de Paris le 06 octobre 2022 et que Madame BROWN a
           saisi le tribunal de circuit de 11.Etat de ['Oregon le 07 octobre 2022.
            11 n'est pas conteste par les parties qu'une instance al'etranger est deja engagee
            ou pendante et qu'il ya identite des p~es, de litige et d'objet. -
            S'agissant dujuge saisi en premier, il convient de rappeler qu~ la saisine a lieu a
            la date a laquelle l'acte introductif d'instance OU un acte equivalent est depose
            aupres de la juridiction.
            En l'espece, la.rcquetc de Monsieur PARIS a ete deposee au greffe des affaires
            familiales du tribunal judiciaire dG Paris le 06 octobre 2022.
            Par consequent, le juge franc;ais a ete saisi en premier avant la saisine de la
            juridiction americaine le 07 octobrc 2022.

            Par consequent, l' exception de litispendance soulevee par Madame BROWN sera
            rejetee.




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              Sur l'excrcice de l'imtoritc p11rc11tulc
              JI resu!te des articles 372 et suiv{mts du Code civil que !es pere et mere exercent
              en co111111un / 'a11rorite parentule, la separation des parents er ant sans incidence
              s11r !es reg/es de devolution de I 'exercice de cette allforire; !ej11ge peut toutefois
              i:or!fier / 'exercice de I 'auwrite parentale d / '1111 des deux pllre11ts si l 'interet de
              l 'e1!fa111 le co111111andit.

              Aux termes de/ 'article 371-1 du Code civil, l 'autorite parentale estun ensemble
              de droits el de devoirs.ayantpourfinalite l'interet de l' enfant. Elie appartient aux
              parentsju.\'lfll '{i la nuijorite 011 / 'emancipation de l 'enfant pour le proteger dans
              ,I'(/ securite, SCI sante er.\'{/ 11/()l'(l/ite, JJOII/' assurer son education et pefmetlre son

              developpement, dcrn.1· le re.1pec/ dti ci sa personne. L 'exercice en commun de
              / 'aulorire JJOl;entale implique le clevoir de prendre ensemble, dans l 'interet des
                                                                 a
              e11jcmts, toute decisio11 relative 11otw1111ient leur education, leur scolarite, leur
              religion, leur moralite et few· securite et plus generalement le devoir d'aviser en
              temps utile l 'autre parent de toute decision ou evenemenl pouvant avoir une
              repercussion dans la vie des enfants et de nature 'Cl engager leur avenir.

              fl sera rappele que pour atteindre eel objectif, !es parents doivent se respecter
              11111tuel/e111enr el accomplir dwcun !es efforts neces~;aires pour traduire leur
              responsabilitrJ de far,:on positive clans la vie de leur enfam. 11otom111ent en
              respectant la place de / 'c111/re parem el en maintenant un 111Jcessaire dialogue
              entre eux.
             La loi du 8 janl'ier 19.93, puis la loi du 4 mars 2002, repre11ant /'esprit de la
             Convention de New-York ~}ur Jes droits de l'enfimt du 20 11ovembre J 989, entree
             en vigueur en France le 2 septembre 1990, o,it pose le principe de l'exer.cii:e en
             comJ111111 de l'cwtorite 11arentale, l'exercice c, litre exc/11sif'par {'1111 des deux
             parents dew111t deme11rer 1111e exception.

             fl resu!te, par ail/curs, des dispositions de I 'article 373-2~1 du Code Civil q11e si
             l'intere.t de l'e11fcmt le cu11111wmle, le juge peut co1ifier l'exercice de l'auturite
             parentale a /11111 des deux parents.

             fl en est nota111111en1 ainsi lorsqu 'en rai.1·011 de /'imperitie de l 'un des parents, de
             son dJsi111eret, de son impossiM!ite lr le joindre ou de son obstruction
             ~yste111atique, l'interet de /'e1ifa,u ti ne pas voir d{lferees ou empechees !es
             decisions importantes qui le concernent, commande de confier al'nutre parent
             / 'exercice exdus[/de l'a11torite parentale.

             En l' espece, aucun element ne j ustifie de remettre en cause l 'exercice en commun
             de l'autorite parentale.


             Sur la rcsiclcncc des cnfants mincurs ct lcs droits de visite ct d'hcbcrgcmcnt
             des parents alcur cg,1rd
             ll resulte des dis1wsitions de I 'article 373-2-6 du Code civil que le juge doit
             veil/er speciale111e11t ii la sauvegarde des interets des enfants mineurs.

             Pour determiner le lieu de residence de ces demier.1· en cas de separation des
             par{!/71.\', ii convienf de rechercher I' aptitude de chac1111 desparents ll as.1·u111er ses
             devoirs el respecrer Les droNs de I 'autre, c, assurer aux en/ants w, cadre de vie
             stable et securiscmt, lt preserver la permanence de leurs references et de /eurs
             liens sociaux, i1Jhvoriser lew· epanouissement.                    •

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          L 'article 373-2-ll du Code civil dispose que lorsqu 1il se prononce sw· les
          modalites d'exercice de l'au.torite parentale, le juge ·prend notamment en
          consideration :
          I O La pratique que les parents avaient precedemment suivie ou les accords qu 'ils
          avaiel1l pu anterieurement conclure:
          2° Les sentiments e;,·primes par l'e,?fam mineur dans /es conditions prev11es a
          !'article 388-1;
          3° L'aptitude de chacun des parents aassumer ses devoirs et respecter les droits
          de l'aulre;                                                 •
          4° Le resultat des expertises eventuellement effectuees, tenant compte notamment
          de l'age de l'enfant:
          5° Les renseignements recueillls dans les eventuelles enquetes sociales prevues
          a /'article 373-2-12;
          6° Les press ions 011 violences, acaractere physique ou psychologiques, exercees
          par l'un des parents sur la personne de l'autre.

          Il ressott des articles 373-2 et suivants du Code civil qu'en cas de separation des
          parents. cha·cun des pere et mere,doit maintenfr des relatio11s persom;elles avec
          l 'e1rfcmt et respecter /es liens de celui-ci avec l 'autre parent. L 'exercice du droit
          de visite et d 'hebergement ne peut erre refuse a l ·autre parent que pour des
          motif~ graves. Lorsque la continuite et l 'ejfectivile des liens de l 'enfant avec ce
          parent l ·exigent. le Juge aux Ajfaires Familialespeuf 01·ga11iser le droit de visite
          clans U/1 espace de renconlre designe a cet effet.

          En l'espece, il apparait.que Juliette et Eva ont reside en France depuis l'annee
          scolaire 2019/2020 soit 3 ans et ont ete scolarisces a Paris depuis cettc cpoque
          soit depuis l'age de 4 ans ; qu'elles sont done pleinement intcgrees en France
          depuis !'age de 4 ans; qu'elles ont devcloppe en France leurs habitudes de vie ct
          leurs attaches sociales (scolarite, amis, activites extrascolaires); qu'il estjustifie
          qu'elles rte sont pas radiees de la liste de leurs ecoles respectives et qu'une place
          \cur est gardee en cas de retour en France ; que les pieces transmises ne
          pcrmcttent aucunemcnt de c9nstater un acord des parents sur la residence des
          enfants atL-... Etats-Unis atitre percnnc, ctant rappele que le couple rcncontrait des
          difficu[tes relationneHes acompter tj.'avtil 2022 et que !'accord du 19 juillet 2022
          stipulait un retour ert France aIa rentree scolaire 2023, puis un retour aux Etats-
          llnis a la rentree scolaire 2024 puis une altemance chaque annee entre la France
          et les Etats-Unis.

           Par ailleuri;, Juliette et Eva a.gees de 8 ans ont ecrit plusieurs kttres au juge
           fran~ais clans lesquelles ell es ont demande de revenir en France a fin d'y retrouver
           lcurs amis, leur activites. II est egalernent produit des messages (sms) dans
           lesquelles les deux fillettes indiquent vouloir rentrer en France et aller al'ecole
           en France.
           Les pieces du dossier ne permettcnt pas de remettre en cause !cs capacites
           parentales des deux parents ni les conditions d'accueil des dcux parents.
           Toutcfois, l'interet des deux enfants de 8 ans commande de fixer leur residence
           au domidle patcmel en France, pays dans lequel elles ont developpe leur vie et
           le centre de leurs inten~ts, pays dans lequel elle ont exprime le souhait de rentrer.
           Afm de ne pas bouleverser leur annee scolairc en cours, il convient de fixer leur
           residence au domicile patemel en France a compter de la rentree scolaire 2023/
           2024.                .




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                 Comptc tenu de l'eloignemcnt geogrnphique des domiciles parcntaux, et en
                 !'absence de proposition de la mere, ii convient d'enteriner la proposition du pere
                 quant aux clroits de visite et d'hebergemcnt de la mere qui exen.:cra ses droits de
                 visile et d'hcbcrgcmenl pendant Jes vacances scolaircs, la premiere moitie des
                 vacances scolaircs !es annees paires et sccondc moitic les annccs impaires.
                 L'equite commande.de partager entre les parents Jes frais de trajets des enfants et
                 la charge logistique des dcplacements.

                Sur la coutribulion mcnsucllc i1 l'cnfreticn ct a !'education des cnfants
                mineurs

                Aux termes de !'article 371-2 du Code civil, chacun des parents contribue a
                /'entrelien et aNd11cafion des er1fc1111.1· ii proportion de ses res.rnurces. de eel/es
                de l'awre parent, ains; que des besoins de l'er!fant. Certe obligation 11c cesse pas
                de pie in droit lorsque l'e11/r.mt est 11/((ieur. L 'article 3 73-2-2 du meme code
                precise qu'en cas de separarion entre /es pare11rs, 011 en/re ceux-ci et l 1e1?fi1111, la
                contrib111ion ii son e11tretie11 er i1 son education prend la joi•me d'1me pensio11
                alime11taire versee, scion le ()a5~ par / 11111 des parents {l /'m!lre, 011 c'i la personne
                alaquel!e l'et?kmt a ete confie. L 'article 3 73-2-2 alinJa 3 du1 meme codeprei•oit
                que cette pension peut en tout 011 partie µrem/re /a_fbrme d 1111e prise en charge
                directe desfrais exposes au pro.fir de l'e,?fi.1111.

                fl sera rappele que l'oh/igathm de_s parents de suhvenir aux be.WJins des en/ants
                acharge necesse ques 'i/sde111onlrentetredansl 'impossibi/ite materielle des 'en
                acquitter.

                Monsieur PARIS declare percevoir des revenus de 8000 euros par mois.
                Son contrat de travail mentionne une remuneration annuelle brute de 120000
                euros.
                I1 fait valoir les charge~ de la vie courantc dont le rembourscment d'un credit
                im.mobilier a hauteur.de 2000 euros pnr mois sans en justifier.

                 Madame BROWN ·ne produit aucun element quanta ses charges et revenus
                 actuels.
                 Toutefois, !es pieces du dossier (offre cl'emploi conditionnelle (piece demai1cleur·
               - n° I Ob), accord entre lcs parties par ldtres officielles du 19 juillct 2022, requetc
                 de Madame BROWN (piece d~foi1dcur 11° 42) laissenl apparailre que !es parents
                 semblcnt pcrcevoir des revenus equivalents.                                   •
                Compte term de ces elements, ii convient de lixer la contribution de la mere a
                l'cntretien et a !'education des en fonts a la somrne de 500 curos par enfanl et par
                mois mois et de dire que Jes frais exceptionncls (frais medkaux el paramedicaux
                non rembourses, voyages scolaires, sejours linguis1iq11cs, conduite accorn1fagnee),
                decides cl'un commun accord, scront pris en charge par ri10i1ie par les parents.
                Conformernent aux dispositions de !'article 373-2-2 du t:odc civil, le versemeni
               ·de la contribution a l'cntretien ct l'eclucntion des enfants par l'intennediaire de
                l'organisme debiteur des prestations farnilialcs au parent crcancicr sera ecartee
                en raison de son incompntibilite avec la situation de l'une des parties, asavoii- la
                resi~lencc a l'etranger de Madame BROWN.                ·.             •



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          Sur lcs mesures accessoircs
          . La nature de l'affaire commande de voir prononcer !'execution provisoire.

           Compte tenu du caractcrc familial clu present litige, chacune des parties
           conservera la charge de scs propres depens et l'equite conm1ande de ne pas faire
           application de ('article 700 du code de procedure civile.    •

                                          PAR CES MOTIFS
           Karima BRAHIMI, Juge chargee des Affaires Familiales, statuant par jugement
           contradictoire, rendu en premier ressort apres debats en Chambre du Conseil, par
           mise a disposition au grcffc, susceptible d'appel,

           DECLARE le juge franc;ais competent et la loi frar19aise applicable,
           REJETTE !'exception de litispendance soulevee par Madame BROWN,
           DIT que 1'autorite parentale sera exercee en commun a l'egard des enfants
           mineurs,

           RAPPELLE que l' exercice en commun de 1; auto rite parentale implique le devoir
           de prendre ensemble, clans l'interet de l'enfant, toute decision relative notamment
           a son education, sa scolarite, sa religion, sa moralite et sa securite et plus
           generalement le devoir d'aviser en temps utile rautre parent de toute decision ou
           evenement pouvant avoir une repercussion dans la vie de l'enfai1t et de nature a
           engager son avenir, .           •
           DlT qu'a cet effet, !es parents dcvront notamment :
           - prcndre ensemble Jes decisions importantes concernant la sante, l'orientation
           scolaire. !'education religieuse et le changcment de residence de l'enfant,
           - s'informer reciproquement de l'organisation de la vie de l'cnfant (vie scolaire,
           activites extrn-scolaires, traiten-ients medicaux ...),
           - c0mmuniquer en toutes circonstances l'adresse du lieu ou se trouve l'enfant et
           le moyen de le joindre,
           - respecter les liens de l'enfant avec son autre parent,

            RAPPELLE que tout changement de residence de l'un des parents, des lors qu'il
            modifie les modalites d'exercice de l'autorite parentale, doit faire l'objet d'une
            information prealable et en temps utile de l'autre parent,

            FIXE la residence habituelle des enfants mineurs au domicile du pere acompter
            de la rentree scolaire 2023/2024,

            DIT que la mere· exercera ses droits de visite et d'hebergement a l'egard des
            enfants mineurs, saufmeilleur accord entre !es parents:                     .
                -pendantles vacances scolaires, la premiere rooitie des vacanc~s scolaires les
                    annees paires et seconde moitie les annees impaires,
            a charge pour les parents de partager les frais de trajets et la charge des
            deplacements (logistique) entre·la France et les Etats-Unis,
            DIT que la moitie des vacances est decomptee a partir du ler jour de la date
            officielle des vacances de l'academie don1· depend l'etablissement scolaire
            frequente par les enfants,                              •          •


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               FIXE acompter de la rentTee scolaire 2023/2024 le montant de la contribution
               de la mere pour l'entretien et !'education des enfanls t\ la sommc de 500 euros par
               cnfanl cl par rnois, soil I 000 euros par mois, ct CONDAMNE, en tant quc de.
               besoin, 1'vfadame 'BROWN a la payer i\ Monsieur PARIS, avant le 5 de chaquc
               mois ct douzc rnois sur douze,                                                  •

              DIT que cettc contribution sera reevalucc le !er janvier de chaquc a1rnec par le
              debiteur en fonction de -la variation de I' ind ice mensucl des prix          la  a
              consommalion des menages urbains (hors tabac) clont le chef est ouvrier ou
              cmploye public par l'INSEE (tcl.09.72.72.20.00, internet: insee.fr), l'indice de
              base elant le dernier public lors de la reevaluation,

              DIT que cettc contribution sera due au-dela de la majoritc ou jusqu':i. la fin des
              ctudes pournuivics par 1'cnfant dont il ·devra etrcjustifie chaqueannee oujusqu'a
              cc que Fenfant exercc unc activite remuncree non occasionnelle lui permcttant
              de subvenir lui-meme a ses besoins,

              RAPJ>ELLE que la reevaluation de la contribution se J'ait de plein droit, sans
              misc en demeure prcalablc, et qu'il nppartient au debitcur d'effectuer ce calcul par
              excmple a !'aide des conseils donn6s sur !es sites : http://www.servicc-
              public.fr/calcul-pension ou http://www.insee.fr/fr/themes/calcul-pension.asp,

               PRECISE que conformement aux dispositions de l'aiticle 465-'ldu Code de
               procedlll'e civile, en cas de defaillance dan~ le reglement des pensions
               alimentaires :                     •
                       1) Le "reancier p~ut obtenir le 11aiemcnt force en utilisant ason choix une
                      ou plusieurs des voies d'execut_ion suivantes:
                      - saisie-attribution entre les mains·d'une tierce personne, qui doit une
                      somme d'argent au debit~ur alimentaire,
                      - autres saisies.
                      - paiement direct par l'employeur,
                      - recouvremcti.t public par I'intennediaire du Procureur de la Republique,
                      2) Le debitcur defaillant cncourt !cs peincs prevucs par !es t)rticles 227-3
               et227-9du       Code penalasavoirdcuxnnsd'emprisonnement et 15. 000 emos
              .d'amende, interdiction des droits civils,'civigues et de fami11e, suspension ou
               annulation du pennis de conduire, interdiction eventuelie-de quitter le tcrritoire
               national,                     •

              DIT que !es frais cxceptio1mels des enfonls (frais mcclicaux ct parnmedicaux non
              rembourses, voyages scolaires, sejours linguistiques, conduitc accompagncc),
              decides d'un commun accord, SC!'(ll1( parlages par moitie cntrc Jes parents sur
              proJuc!ion de j ustificatifs,

              REJETTE toute autre demande,
              ORDONNE !'execution provisoire de la presente decision, .

              DIT n'y avoir lieu a application des dispositions de !'article 700· du code de
              procedure civile,




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          DIT que chacune des parties conservera la charge de ses propres depens,


                                               Fait aParis le 21 Avril 2023


                                                                    BRAHIMI Karima
                                                                    Juge




                                                         a
           •Rappe lie qu'cn cas de manquement !'obligation de payer la pension alimentaire, le
            parent creancicr peut en obtenir le reglement force par l'intermediaire de l'agcnce de
           frccouvrement des impayes de pensions alimentaires (ARIPA: www.pension-
           jalimentaire.caf.fr) des le premier incident de paiement en s'adressant a sa caisse
           :d'allocations familiales -CAF - ou caisse de la mutualitc sociale agricole -CMSA.
           ialin de lui demander d'agir en son nom pour obtenir le vcrscment ~des sommes a\1enir
           :el recouvrer les pensions alimentaires impayees. pa1iiellcmenl ou irregulierement      I
            payees, dans la lirnite des vingt-quatre demiers mois..                                !
           ·.Rappelle que le parent creancier peut egalement utiliser l'une ou plusieurs voies
           ;civiles d'execution ;                                                                            I
                                                                a
           (Rappe/le que les frais de recouvrement sont la charge du parent qui a !'obligation de j
           ,r~g_I_~r_l~ p_e!l~_io~_a!_i_n:ie_ntaire.     _. .   . _.   . . __ . ___ . ____ . _. __ __ .. _, _!




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N° RG 22/38514- N° Portalis 352J-W-B7G-CYBZ3

EXPEDITION executoire dans l'affaire:
Demandeur : M. Arnaud PARIS

contre
Defenderesse : Mme Heidi BROWN




                      EN CONSEQUENCE, LA REPUBLIQUE FRAN(;AISE mande
                   et ordonne:
                     A tous les huissiers de justice, sur ce requis, de mettte ladite
                   decision aexecution,
                     Aux Procureurs Generaux et aux Procureurs de la Republique
                   pres les Tribunaux Judiciaire d'y tenir la main,

                   A tous commandants et officiers de la force publique de preter
                  main-forte lorsqu'ils en seront legalement requis.
                    En foi de quoi la presente a ete signee et delivree par nous
                  Directeur des services de greffe judiciaires soussigne au Greffe du
                  Tribunal judiciaire de Paris



                                    p/Le Directeur des services de greffe judiciaires




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    PARIS
  JUDICIAL
   COURT

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                                              JUDGMENT
                                      rendered on April 21, 2023
N° RG 22/38514 - N°
Portalis                              Article 1179 of the Code of Civil
352J-W-B7G-CYBZ3                                 Procedure

MINUTE#: 1


             PLAINTIFF
             Mr. Arnaud PARIS
             13 RUE FERDfNAND DUVAL
             75004 PARTS
             Appearing, assisted by Me Audrey GADOT, Attorney at the Nanterre Bar, #530
             and Me Terence RICHOUX, Attorney, #E0780


             DEFENDANT
              Ms. Heidi BROWN
              665 LEONARD STREET
              ASHLAND - OREGON - UNITED STATES

              Represented by Me Clemence BRASSENS-BAZALGETTE, Attorney, #G0276


              THE FAMlLY COURT JUDGE

              Karima BRAHIMI



              THE COURT CLERK

              Charlotte PERROT



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                                              STATEMENT OF nrn CASE

               The relationship between Mr. Arnaud PARIS and Ms. Heidi BROWN yielded
              two children whose filiation is legally established with regard to both parents:
                  - Juliette PARIS, born on January 15, 2015, in Ashland (USA),
                  - Eva PARIS, born on January 15. 2015. in Ashland (USA).
              Mr. PARIS filed a petition before the Family Court of Paris, registered at the
              Family Court Registry on October 6, 2022.
              By order of October 7, 2022, Mr. PARIS was authorized to summon Ms.
              BROWN to a hearing on January 20, 2023.
              By bailiffs deed of October 10, 2022, Mr. PARIS summoned Ms. BROWN to
              a hearing on January 20, 2023.
              At the hearing on January 20, 2023, Mr. PARIS was present and assisted by his
              counsel; Ms. BROWN was absent but represented by her counsel. Ms.
              Brown's counsel requested that the case be postponed; Mr. Paris' counsel did
              not oppose this request. In view of the agreement of the parties, the case was
              postponed to the hearing of March 31, 2023.
              At the hearing on March 31, 2023. l\·1r. PARIS was present and assisted by his
              counsel: Ms. BROWN was absent but represented by her counsel. Ms.
              Brown's counsel's new request for an adjournment was rejected as unjustified.
              In his written submissions, to which reference should be made, Mr. PARIS
              requests:
                  - the joint exercise of parental authority,
                  - to fix the residence of the children at his home in Paris,
                  - to grant the mother visitation and accommodation rights <.!tiring school
                       vacations, at her expense for the travel expenses of the children~
                  - to fix the amot1nt of the mother's contribution to the maintenance and
                       education of the children at thl! sum of IOOO curos pl!r month,
                  - to say that the exceptional health expenses not reimbursed and the
                       extracurricular expenses jointly decided will be paid by the parents in
                       equal parts,
                 - to order Ms. Brown to pay the costs and the sum of 3,600 euros pursuant
                      to Article 700 of the Code of Civil Procedure
                 - to order Ms. BROWN to pay the costs in accordance with the provisions
                      of Article 699 of the Code of Civil Procedure.
              In her written submissions, to which reference should be made, Ms. BROWN
              requests:
              * In liminc mitis :
                  - To declare that the Court of Appeals does not have jurisdiction to hear
                       this case in favor of the Circuit Court of the State of Oregon,
                  - In the alternative, lo find that a !is rendcns situation exists and to dismiss
                       the case in favor of the Circuit Court of the Slate of Oregon,
                  - In the extreme alternative, to refer the case back,
                  - to order Mr. PARIS lo pay him the sum of3000 euros pursuant to article
                       700 of the Code of Civil Procedure.




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              * On the merits:
                 - to establish the residence of the children in the maternal home in the United
                    States,
                 - failing that, to maintain the alternating residence of the children at the
              parental homes in the United States,
                  - to order the sharing of the children's expenses.

              In accordance with the provisions of article 1072-1 of the Code of Civil
              Procedure, it was verified whether or not educational assistance proceedings
              were in progress with respect to the minor children.

              No request for a hearing of minors was made in accordance with article 388-1
              of the Civil Code.

              The decision was reserved until April 21, 2023.


                                                REASONS FOR THE DECISION

              On the jurisdiction of the French judge and the applicable la\v

              The foreign elements of the case require the question of the international
              jurisdiction of the French judge and the applicable law.

              On jurisdiction

              I) 011 vare11tal responsibilitv:

               !'11rs11011t to Article 7 r!f'Council Regulation (EU) 2(;/C)ff 111 uf June 25, 2019,
               k,1011111 as "Brussels fl rer" The courts of a iHember State shall have
              j11risdicfio11 in matters of parental respansibiiity over a child who is habitually
               resident in that Member State at the ti111e tl,e court is seized.

               Frrst of all. it should be recalled that the Brussels {] /er Regulation does not
               contain any provisions regarding its ,\Jwtial s-::ope of application. The
              j11risdictio11al mies determined by C:01111(:il Reg11lati,111 (EU) 2019/I I I/ of.June
               2j, 20 I 9 app(F to relations between court.~· of sever,;t/ Me111ber States, bur also
               to relations between a court (?{a Member Stale a11d a co11r/ of a rhird Stale.

              Next, it is necessa,y to determine ·where the children's residence is located in
              order to determine whether the Frenchjudge hasju,..isdiction.

              The child's habitual residence is the place where rlw center <~lthe child's life is
              locared, which must be determined at rhe rime t/1!! application for parental
              responsihility is filed on the hasis <?la set of i11dicarors.
              Tl111s, the deter111i11alion <~l the place (?{ habitual rnidence of a child 11111st he
              do11e i11 a ve1:v concrete way with regard to the ptecise circumstances of tire
              case: comfit ions and reasu11s for the child's stay, ,;'uratio11 t?f rlre stay, age of
              the c/1ild. sc/1ooli11g, co111111011 il1re,1tio11 of tire pare11'.s ro tra11.~f'er this residence
              as ll'el! as the decisions taken will, a view to tl,e i11tegrario11 of the chil<Ietc...

              It is rherefore necessary to _find out where r!,e child's integration into a social
              011d fa111i~J1
                           environ111e11t is located in order to deiermine s11Jjkient and not
              tempurm)' pro.1:i111izv befWeen tl,e child a11d his or her living envimnment.

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            In this case, in light of the documents in the file and the debates, it appears that
            since the birth of the two daughters, the couple and the children have resided
            alternately in France and in the United States; that since the start of the 2019
            school year, the couple and the children have settled in France and the two
            daughters have been schooled in France, that during April 2022, relationship
            difficulties have arisen between the couple and that the two parents no longer
            agree on the family's place of residence, with Mr. PARIS wishing to remain in
            France and Ms. BROWN wishing to return to the United States; that
            nevertheless the parents agreed on July 19, 2022 for the family to leave for the
            United States for the 2022-2023 school year, the couple's two daughters having
            arrived on American territory on July 29, 2022.

            Thus, at the time of the referral to the French court, on October 6, 2022, Juliette
            and Eva had been residing in the United States for only two months; before that,
            they had been residing and attending school in France for three years, a cNmtry in
            which they were socially integrated; if the parents agreed to return to the
            United States. this agreement concerned only the 2022/2023 school year, and
            thus it cannot be inferred that the parents had the common intention of
            transferring the children's residence to the United States on a long-tenn basis.

           Consequently, taking into account these clements, it appears that on the day of
           the referral to the French court, i.e., October 6, 2022, Juliette and Eva had their
           habitual residence in France.

           Therefore, the French judge is competent to rule on claims relating to parental
           responsibility.


            (21 011 ali11wm1 obli1talions:

           Anicle 3 b) rd' Reg11/atio11 {EC) No 412009 of 18 Decemher 2008 011
           jurisdic1iu11. applicable law, recognition and e11/im:e111e11t of decisions and
           coopemliu11 ill matters relaring to ali111v,iy ubli1{atio11s prm·ides that the co111·r
           of t/Je place where the creditor has his lwbifllal residence /ws jurisdiction to
           givej11dgme11t in 111c1/lers relafing to aliJJ101~v obligations i11 the Memher Swtes.

           In this case, since the alimony creditor is habitually resident in France, the
           French judge has jurisdiction to rule on the alimony claim.


           On the applicable law

           1) 011 pare ma! responsibi!i1v:

            Under Article 15 of the Hague Convention of 19 October 1996 on
           .!11r1'.wliction, Applicahle Law, Recognition and E1!force111ent of Ded1·hms
           Rela!ingto the Protf:'ctio11 a/Children, the court havi11gj11risdictio11 to decide 011
           parental responsibility shall apply its own law.
           In this case, the jurisdiction of the French judge in matters of parental
           responsibility leads to the application of French law.



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         (2) On support obligatio11s:

         Um/er Article 15 <f Co1111ci/ Reg11/ati011 (EC) No 4/2009 of 18 December
         2008. rhe law applicable ro 11wi11fi:l/c111ce ob!igarions is derer111i11ed in
         accorcla11ce wirh the Hague Protocol of 23 November 2007 for the 1\tlember
         States bound by that instrument.

         Under Article 3 of the Hague Protocol <1[ 23 November 2007. 1111fess otherwise
         provided jrw i11 the Protocol, £he /au· of the Stare of the creditor's hahitual
         residence govems 11wimem111ce ohligations; in the eve111 of a change in the
         creclirur's lwbirual residence, rlre law <?f the Stare <~( the new lwhitual
         residence applies as jfom the time the change occurs.

         In this case, since the creditor resides in France, French law should be applied.


         On the exception of lis pendcns

          U11der the terms <?( article 100 of the Code qf Civil Procedure, if the same
         cli.\p111e is pending he/ore Mo courts of the same level that are equally
         comperem ro hear if. the court seco11cl seized 11111st relinquish jurisdiction i11
         }l1vor cf the other (/"one ofrhe parties so requests.

         Ms. BROWN raises Lhe inadmissibilily of Lhe petition filed by Mr. PARJS
         based on an exception of lis pendens. She raises the litispenclencc on the
         questio11s of parental responsibility between the proceedings initiated before
         the judicial court of Paris by Mr. PARIS and those initiated by Ms. BROWN
         in the United States.

         In this respect, she asserts that the French court was seized second and must
         relinquish jurisdiction over the dispute to the American judge.

          In Lhis case, it appears from the documents in the file that Mr. PARIS tiled a
          petition with the f-amily Court or Paris on October 6, 2022 and that Ms.
          BRO\VN filed a petition with the Circuit Court of the State of Oregon on
          October 7, 2022.

          It is not disputed by the parties that a foreign proceeding has already been
          initiated or is pending and that there is identity of the parties, the dispute and
          the subject matter.

          With rcirnrd to the court first seized, it should be remembered that the seizure
          takes place on the date on which the document instituting the proceedings or
          an equivalent document is filed wilh the court.
          In this case, Mr. PARIS' request was filed with the family affairs clerk's office
          of the Paris judicial court on October 6, 2022.
          Consequently, the French judge was seized first before the American court on
          October 7, 2022.

          Consequently, the exception oflis pendens raised by Ms. Brown will be rejected.




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               On the exercise of parental authoritv

              Articles 372 et seq. of the Civil Code provide that the father and mother
              exercise parental authority joint~!'. the separation of the parents /,al'ing 110
              e.ffect 011 tl,e rules goveminR the exercise of this authority: the judge lllt(J',
              lwweFer, entrnst the exercise ofparewal authority ro one ofthe two parents il
              the interests of the child so re,1uire.

              According to article 371-1 <f the Civil Code. parental authoriry is a set of
              rights and duties whose purpose is tl,e interest of the cl,ihl Ii be lungs to the
              parents until the 11/(!iority or emancipation <~( the child to prmect his sr((ety.
              /,ea/th and 111om!iry. 10 ensure his ed11catio11 and to allow his de1•efu1i111e11r. in
              the respec/ due to liis person. 11,e joint exercise ofpareJl!a! authority implies
              the dwy /0 take together. i11 the interest <!l tlw children. any decision relating
              to their education. their sc/10uli11g, their religion, tl1eir 111oraliz1 and their
                                                                                         1


              .w{(ety and 111ore generally the duty 10 il!form !he other pareJ/f in good time <g·
              any decision or evem that may haw: an impact on the life of the children a11d
              //wt may af/ecttheir.fi1111re.

              It will be recalled that in o1'der to achieve this goal. parents 11111st respect each
              other and each make the necessm:v e_fjorts to reflect their responsibility in a
              positive wczv- in !he life of their child, in particular l~)I respecling the place of
              the other parent and hy 111ai111ai11i11g a 11eces.w11:v dialogue between them.

              The law of January 8, 1993, then the hn11 of March "· 20()2, 1aki11~ up !he
              spirit of the New York Convention on !he Rights of the Child q( November 20,
              I 989. wl,ich came into fhrce in France 011 September 2. I 990. eslablished !he
              principle vfjoinr exercise ofpare11tal aurlwri~v. with exclusive exercise hy one
              rfthe /\Vo pare111s remaining a11 exception.

              It results, moreover, ji-om the pmvisio11s <?l ar!ide 373-2-1 of the Civil Code
              that if the imerest r~(rhe child so requires, thejm(!!_e can entrust the exercise of
              parental awhority lo one oft lie two pare11ts. •

              This is particularly the case when. because of one <l !he parents' inertia,
              disinterest, ina/Jilitv to contact hi/// or her or sJ 1ste111atic obstruction, the
              child's illleres/ ill 'no/ seeing i111por/a,1{ decisions concerning him or her
              delczved or prevented requires that the other parent be given exclusive
              pare111al authority.

              In this case, there is no reason to question the joint exercise of parental
              authority.

              On the residence of minor children and the parents' visiting and
              accommodation rights towards them

              it follows ji-om the provisions of article 373-2-6 of the Civil Code that the
              judge 11111st take special care to saj,!guard the i11terests <?{minor cl1ildnm.

              To determine !he place of residence <?/"the childre11 i11 tile event<~/' separation
              of //1e pare11ts. ii is acfrisab!e ro seek the aptitude ofeoc:/1 parent to assume his
              duties and respect the rights <Jf the olher. to e11s11re the children a stable and
              reassuring ji·a111e111ork </ life. to preserre Ifie per111a11ence <~[ their rejere11ces
              and tlu:ir soc.ial band\·, to support their h/00111i11g.


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        Article 373-2-11 (~f' the Civil Code provides that when deciding on the
        11wdalities r!f' exercising parental authority, the judge shall take into
        co11sideratio11, i11 pal'licular:
        1° The proctice that the parents had previously followed or the agreements that
        they had previously made:
        2° 1'l1efeeli11gs expressed by the 111i11or child under the conditions provided for
        in article 388-1;
        3° The ability of each parent to assume his or her duties and respect the rights
        <?/the oilier:
        ./° 17,e results <!f any expert appraisals that may have been carried out, laking
        into account rhe age oft he child:
        (5) i11for111atio11 gathered ;,, any social investigations provided for in section
        373-2-12;
        6° Physical or psychological pressure or violence exerted by one of the parents
        on the other,

         Articles 373-2 et seq. of the Civil Code state that in the event of parental
         separation. eoch parelll must maintain perso11al relations with the child and
         respect the chilrl's ties with the other pare11t. The exercise of the right cf
         access and accommodation can 011/y be re.fi1secl ro the other parent for serious
         reasons. When the continuity and effectiveness of the child's fies with rhis
         parent so require, the Family Court may organize visitation righrs i11 a
         meeting place desig11a1edfor this purpose.
         In this case, it appears that Juliette and Eva ha,;e been residing in France since
         the 2019/2020 school year, i.e., 3 years, and have been attending school in
         Paris since that time, i.e., since the age or 4; that they have therefore been fully
         integrated in France since the age of 4; that they have developed in rrancc
         their life habits and their social ties (schooling, friends. extracurricular
         activities): that it is justified that they are not removed from the list or their
         respective schools and that a place is kept for them in case they return to
         France; that the documents submitted do not in any way make it possible to
         establish an agreement between the parents on the residence of the children in
         the United Stales on a permanent basis, it being recalled that the couple
         encountered relationship difficulties as of April 2022 and that the agreement or
         July 19, 2022 stipulated a return lo France at the start of the 2023 school year,
         then a return to the United Stales at the start of the 2024 school year, then an
          alternation each year between France and the United States.

         In addition, Juliette and Eva, aged 8, wrote several letters to the French judge
         in which they asked to return to France to find their friends and activities.
         There are also messages (sms) in which the two girls indicate that they want to
         return to France and go lo school in France.

         The documents in the file do not allow for the parental abilities of both parents
         to be questioned. nor the foster care conditions or both parents.
         However. the interest of the two 8 year old children requires to fix their
         residence at the paternal domicile in France, country in which they developed
         lh~ir lire and the center of their interests, country in which they expressed the
         wish to return.

         In order not to disrupt their current school year, it is appropriate to establish
         their residence at their father's home in France as of the beginning of the
         2023/2024 school year.



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                Given the geographical cJistance of the parei1tal homes, and in the absence ofa
                proposal from the mother, it is appropriate lo ratify the father's proposal
                regarding the mother's visitation and accommodation rights. which will be
                exercised cJurin!! school vacations, the lirst half of the school vacations in
                even-numbered years and the second half in odd-numbered years.

                Fairness requires that parents share the cost of the children's travel and the
                logistical burden of travel.


                On the monthly contribution to the maintenance and education of minor
                children

                According to article 371-2 of the Cil'il Code, each parent contributes to the
                111ai11te11a11ce and education t?f rhe chilclre11 i11 proportion lo /Jis or her
                resources. those c!fthe other parem. and the 11eed1· r!f the child. This obligation
                does 1101 autommica/ly cease when the c/Jild reucl,es the age of 111qjorizv_
                Article 373-2-2 of the same code spec?fies flwt in t/Je el'ent <Il sepai·atio11
                between the pare,1/s, or be/lt'ee11 !he parel/ls and the child, the cu11trilm1io11 to
                rhe 11wil11c:11c111ce and education of the child takes the form of a maintenance
                al!oll'ance pahl. as the case me~}' be, by one of the parents to the other, or to
                the person to whom the: child lrw· been emrusted. Article 373-2-2 paragraph 3
                of the same code provides that this support may in 11'hole or in part rake the
               form of direct /H~J'//le111 of expenses incurredjur the be11eji1 of the child.

               It will be recalled J/wt the parents' ohliKalio11 Iv support their dependent
               children only ceases if they demonstrate that they are materially unable to do so.

               Mr. PARIS declares that he receives an income of 8000 euros per month.
               His employment contract mentions a gross annual remuneration of 120,000
               euros.
               He argues that he has Iiving expenses, including the repayment of a real estate
               loan of2000 euros per month, without justifying it.

               Ms. Brown does not provide any information about her current expenses and
               income.
               However, the documents in the file (conditional offer of employment
               (plaintiff's exhibit no. IOb), agreement between the parties by onicial letters
               dated July 19, 2022, petition by Ms. Brown (defendant's exhibit no. 42) show
               that the parents appear to have equivalent incomes.

               Taking into account these elements, it is appropriate to fix the mother's
               contribution to the maintenance and education of the children at the sum of
               500 euros per child per month and to stale that the exceptional expenses
               (medical and paramedical expenses not reimbursed, school trips, linguistic stays,
               accompanied driving). decided upon by mutual agreement, will be taken in
               charge by half by the parents.

               In accordance with the provisions of article 373-2-2 of the civil code, the
               payment of the contribution to the maintenance and education of the children
               through the intermediary of the body responsible for family benefits to the
               creditor parelll will be rejected because of its incompatibility with the situation
               of one of the parties. namely the residence abroad of Ms, BROWN.


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           On ancillary measures

           The nature of the case requires that provisional execution be pronounced.

           Given the family nature of this dispute, each party shall bear its own costs and
           equity dictates that Article 700 of the Code of Civil Procedure not be applied.


                                                          NOW THEREFORE

           Karima BRAH !Ml, Judge in charge of Family Affairs, ruling by contradictory
           judgment rendered in first instance after debates in the Council Chamber, by
           being made available at lhc clerk's office, subject to appeal,

           DECLARE the French judge competent and the French law applicable,

           DISMISSES the objection of lis pendens raised by Ms. BROWN,

           DECLARES that parental authority shall be exercised jointly with respect to
           the minor children,

           RECALLS that the joint exercise of parental authority implies the duty to take
           together, in the interest of the child, any decision relating in particular to his or
           her education, schooling, religion, morality and safety and more generally the
           duty to inform the other parent in a timely manner of any decision or event that
           may have an impact on the child's life and that may affect his or her future,

           IT IS FURTHER RESOLVED that for this purpose, parents shall in particular:
           - make important decisions together about the child's health, schooling,
           religious education and change of residence,
           - inform each other about the organization of the child's life (school life,
           extracurricular activities, medical treatments ... ),
           - provide the address of the child's whereabouts and a means of contacting the
           child at all times,
           - respect the child's relationship with the other parent,

           RECALLS that any change in the residence of one of the parents, as soon as it
           modifies the modalities of exercising parental authority, must be the subject of
           prior and timely information of the other parent,

           ESTABLISHES the habitual residence of the minor children at the father's
           home as of the beginning of the 2023/2024 school year,

           DECLARES that the mother will exercise her visiting and accommodation
           rights with respect to lhe minor children. unless the pirents agree otherwise:
               - during the school vacations, the rtrst half of the school vacalions in even
                   years and the second half in odd years,
           parents are responsible for sharing the cost of travel and logistics between
           France and the United States,

           DECLARES that half of the vacation is counted from the first day of the
           official vacation date of the academy on which the school attended by the
           children depends,



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                 ESTABLISHES as oflhe beginning of the 2023/2024 school year the amount
                 of the mother's contribution for die maintenance and education of the children at
                 lhe sum of 500 curos per child and per 111011th. that is to say l000 curos per
                 month, and CONDEMNS, insofar as necessary. Mrs. BROWN 10 pay it to Mr.
                 PARIS, before the 5th of each month and twelve months out of twelve,
                IT IS RESOLVED that this contribution will be re-evaluated on .January I of
                each year by !he debtor according to lhe variation in the monthly consumer
                price inde:-; for urban households (exc.luding tobacco) whose head is a worker
                or employee published by INSEE (tcl.09.72.20.00, internet: insee.fr), the base
                index being the last one published at the time of the revaluation,
                DECIDES that this contribution will be due beyond the age of majority or
                until the completion of the child's studies, for which proof must be provided
                each year, or until the child engages in a non-occasional paid activity that
                enables him or her to support him or herself,
                RECALLS that the reassessment of the contribution is made automatically,
                without prior notice. and that it is up to the debtor to make this calculation. for
                example, using the advice given on -the websites: http://www.servicc-
                public.fr/calcu lating-pension       or      http://www.i nsee. fr/fr/themcs/calcul-
                pension.asp,
                PROVIDES that in accordance with the provisions of Article 465-1 of the
                Code of Civil Procedure, in the event of default in the payment of alimony:
                         1) The creditor may obtain forced payment by using one or more of the
                         following means of enforcemenl at his or her option
                         - seizure in the hands ofa third party. who owes a sum of money to the
                         maintenance debtor,
                         - other seizures,
                         - direct payment by the employer.
                         - public collection through the Public Prosecutor,
                         2) The defaulting debtor slwll be liable to the penalties provided for in
                Articles 227-3 and 227-9 of the French                  Penal Code , i.e. two
                years'imprisonmenl and a fine of 15,000 curos, disqualification from holding
                civil, civic and family rights, suspension or cancellation oflhe driver's license,
                and a possible ban on leaving the country,
                DECIDES that the exceptional expenses of the children (medical and
                paramedical expenses not reimbursed, school trips, linguistic stays.
                accompanied driving), decided by mutual agreement, will be shared equally
                between the parents upon production of receipts.
                DENIES all other applications,
                ORDERS provisional execution of this decision,
                DECLARES that there is no need to apply the provisions of Article 700 of
                the Code of Civil Procedure,



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           ORDERS that each party shall bear its own costs,


                                                 Done in Paris on April 21, 2023



            PERROT                                                  Charlotte BRAHIMI Karima
            Clerk                                                   Judge




            !?ecal!s that in case of failure to pay the alimony, the creditor parent can obtain
            forced payment through the agency for the recovery of unpaid alimony (ARlPA;
            www.pension•ali111enlairc.caf.fr) as soon as the lirst payment incident occurs, by
            co 11 I acting his or her Caisse d'allocations familiales (CAF) or Caisse de la
            mutualitc sociale agricole (CMSA). in order to ask it to act on his or her beht1I r to
            obtain payment of future sums and to recover unpaid, pa1iially or irregularly paid
            alirnony payments, up to a limit of the last 24 months.

            Recalls that the creditor parent may also use one or more civil enforcement methods;

            Recalls that collection costs are the responsibility of the parent who is obligated to
            pay support.




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   N° RG 22/38514- Portalis N° 352J-W-B7G-CYBZ3

   Enforceable DISPATCH in the case:

   Plaintiff: Mr. Arnaud PARIS

   Against

   Defendant: Ms. Heidi BROWN

               NOW, THEREFORE, THE FRENCH REPUBLIC directs and orders:

               To all bailiffs, on this request, to enforce the said decision,

               To the Public Prosecutors and to the Public Prosecutors of the Republic of
             France at the Courts of Justice to enforce it.

                To all commanders and officers of the public force to lend a hand when
             legally required.

                In witness whereof the present document has been signed and delivered by
             us, the undersigned Director of the Judicial Clerk's Office, to the Clerk's
             Office of the Judicial Court of Paris.



                         For the Director of the Judicial Registry Department




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   Maria CHOURAQUI
   Team Lead                  19 July 2023
   WeTranslate                      Date


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